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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
   MKM:TH                                             271 Cadman Plaza East
   F. #2017R01840                                     Brooklyn, New York 11201



                                                      July 16, 2021

   By ECF

   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re:      United States v. Lauren Salzman, et al.
                          Criminal Docket No. 18-204 (S-2) (NGG)

   Dear Judge Garaufis:

                   The government respectfully submits this letter, pursuant to Section 5K1.1 of
   the United States Sentencing Guidelines (the “Guidelines”), to apprise the Court of the
   substantial assistance provided by the defendant Lauren Salzman and permit the Court, in its
   discretion, to impose a sentence below the otherwise applicable advisory Guidelines range.
   Lauren Salzman is scheduled to be sentenced by the Court following her March 25, 2019
   guilty plea to racketeering conspiracy, in violation of 18 U.S.C. § 1962(d) (Count One) and
   racketeering, in violation of 18 U.S.C. § 1962(c) (Count Two). The applicable advisory
   Guidelines range is 87 to 108 months’ imprisonment.

                  As set forth more fully below, Lauren Salzman provided the government with
   detailed information regarding the criminal activities of her co-defendant Keith Raniere and
   his co-conspirators, including significant information regarding DOS, the secret organization
   led by Raniere. She provided credible, detailed testimony at Raniere’s trial before this Court
   in May and June 2019. The extent of Lauren Salzman’s cooperation and the significance of
   her assistance to the government were extraordinary.

          I.     Background and Criminal Conduct

                 The facts underlying the offense conduct in this case are set forth in the
   Presentence Investigation Report (“PSR”) prepared by the United States Probation
   Department on May 20, 2021, to which the government has no objection.

                As set forth in the PSR and as acknowledged at her guilty plea, Lauren
   Salzman was a member of the racketeering enterprise led by Keith Raniere and, starting in
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   approximately January 2017, she was a first-line DOS “master” who recruited several
   women into DOS as her “slaves.”

                  Between March 2010 and April 2012, Lauren Salzman, Raniere and others
   trafficked Daniela for labor and services by confining her to a room for nearly two years on
   the threat of being sent to Mexico and withholding her birth certificate. PSR ¶¶ 42-46. At
   Raniere’s instruction, Lauren Salzman threatened Daniela that if Daniela left the room, she
   would be sent to Mexico without any identification documents. Id. Daniela was confined to
   the room for nearly two years, during which she went months without human contact. PSR
   ¶ 45. Lauren Salzman reported to Raniere regarding Daniela’s “progress,” but Raniere
   frequently told Salzman that Daniela was “game-playing” and manipulating Salzman and
   needed to stay in the room longer. Trial Transcript (“Tr.”) at 1930-34 (Salzman’s
   testimony). Raniere forbade Salzman from telling Daniela anything or giving her any
   information “about what was going on, on the outside with anybody.” Tr. at 1936-37. At
   one point, when Daniela cut off her hair, Raniere instructed Lauren Salzman to tell Daniela
   that Daniela would have to stay in the room until her hair grew back, which Salzman did.
   Id.; Tr. at 2899. In approximately February 2012, after considering suicide, Daniela left the
   room. PSR ¶ 46. Daniela was then driven to Mexico at Raniere’s direction and was told that
   unless she completed book reports for Raniere, she would not receive her birth certificate.

                  In January 2017, Lauren Salzman was recruited by Raniere to be a first-line
   “master” in DOS. As the Court is well aware, DOS was a secret organization led by Keith
   Raniere and comprised of “masters” who recruited and commanded groups of “slaves.”
   Lauren Salzman recruited her own “slaves” by approaching prospective recruits and falsely
   describing DOS as a secret women’s empowerment group or sorority while intentionally
   concealing Raniere’s role in the organization. PSR ¶¶ 60-74. First-line DOS “masters,”
   including Salzman, required prospective “slaves” to provide “collateral”—including
   damaging confessions about themselves and loved ones (truthful or not), rights to financial
   assets, and sexually explicit photographs and videos—to prevent them from leaving the
   group or disclosing its existence to others. Id.

                  DOS “masters, including Lauren Salzman, benefitted financially from
   recruiting and maintaining DOS “slaves.” DOS “slaves” were coerced into providing labor
   and services for their “masters” under the threat of the release of their collateral, including
   editing and transcription work, taking naked photographs, and other tasks. DOS “masters”
   were expected to receive approximately 40 hours of labor each week from their “slaves.”
   PSR ¶¶ 66-67; see Tr. at 1618-1619 (testimony of Lauren Salzman that Raniere decided that
   “if we each had six slaves who each had six slaves under them . . . you would have 40 hours,
   approximately 36, but approximately 40 hours of work per week for life from these
   individuals”).

                Among the “slaves” recruited into DOS by Lauren Salzman were Jane Doe 6
   and Jane Doe 11, whose recruitment into DOS is described in further detail in the PSR.




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          II.    The Guidelines Calculation

                  The government respectfully submits that the Guidelines calculation set forth
   in the PSR, reflecting a total offense level of 29 and an advisory Guidelines range of 87 to
   108 months’ imprisonment, is accurate and should be adopted by the Court.

          III.   Applicable Law

                 Section 5K1.1 of the Sentencing Guidelines provides that:

                        Upon motion of the government stating that the defendant
                        has provided substantial assistance in the investigation or
                        prosecution of another person who has committed an
                        offense, the court may depart from the guidelines.
                        (a)     The appropriate reduction shall be determined by
                                the court for reasons stated that may include, but
                                are not limited to, consideration of the following:
                        (1)     the court’s evaluation of the significance and
                                usefulness of the defendant’s assistance, taking
                                into consideration the government’s evaluation of
                                the assistance rendered;
                        (2)     the truthfulness, completeness, and reliability of
                                any information or testimony provided by the
                                defendant;
                        (3)     the nature and extent of the defendant’s assistance;
                        (4)     any injury suffered, or any danger or risk of injury
                                to the defendant or his family resulting from his
                                assistance;
                        (5)     the timeliness of the defendant’s assistance.
   U.S.S.G. § 5K1.1. In addition, it is well-settled that, at sentencing, “the court is virtually
   unfettered with respect to the information it may consider.” United States v. Alexander, 860
   F.2d 508, 513 (2d Cir. 1988). Indeed, Title 18, United States Code, Section 3661 expressly
   provides that “[n]o limitation shall be placed on the information concerning the background,
   character, and conduct of a person convicted of an offense which a court of the United States
   may receive and consider for the purpose of imposing an appropriate sentence.”




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          IV.    Lauren Salzman’s Cooperation with the Government

                 The government respectfully requests that the Court depart from the applicable
   Guidelines range based upon Lauren Salzman’s extraordinary assistance in the investigation
   and prosecution of others, as set forth in further detail below. U.S.S.G. § 5K1.1.

                 A.     Assessment of the Assistance Rendered

                 In the course of lengthy proffer sessions beginning in March 2019, Lauren
   Salzman fully admitted her involvement in the crimes with which she was charged and
   provided detailed information about crimes committed by Raniere and other members of the
   racketeering enterprise.

                  Lauren Salzman’s cooperation substantially contributed to the government’s
   successful prosecution of Raniere. By virtue of her close, decades-long relationship with
   Raniere, Lauren Salzman was privy to a significant amount of information regarding
   Raniere’s role in directing criminal activity within the enterprise, even where Raniere had
   taken great pains to conceal his role. Lauren Salzman provided detailed testimony at
   Raniere’s trial concerning, among other things, (1) Raniere’s leadership of the racketeering
   enterprise; (2) Raniere’s orders to confine Daniela to a room, without human contact, for
   nearly two years; (3) Raniere’s role as the “Grandmaster” in DOS; (4) Raniere’s direction
   that several DOS “slaves” be assigned to have sex with him; (5) efforts by Raniere and Clare
   Bronfman to discredit DOS victims and lie about Raniere’s involvement in DOS; and (6)
   statements regarding Raniere’s efforts to secure a “virgin successor” as a replacement for
   Camila. Lauren Salzman also provided the government with information about additional
   criminal activity, as well as efforts by Raniere and others, including other first-line DOS
   “masters,” to obstruct the government’s investigation.

                  Lauren Salzman’s credible and corroborated trial testimony substantially
   assisted the government in securing Raniere’s conviction at trial, thereby achieving a
   measure of closure for Raniere’s victims.

                 B.      Completeness and Reliability of the Information

                  Lauren Salzman provided full, complete and reliable information during her
   numerous meetings with the government. Lauren Salzman fully admitted her own role
   within the criminal enterprise and her participation in criminal activity, including some
   criminal activity as to which the government was previously unaware.

                 C.      Nature and Extent of Lauren Salzman’s Cooperation

                  As set forth above, Lauren Salzman provided extraordinary assistance to the
   government’s investigation and prosecution of this case. She met with the government on
   dozens of occasions, both in proffers and in preparation for trial testimony, and answered all
   the government’s questions, including questions about crimes she committed, as well as
   criminal activity engaged in by her close friends and family members, including her mother.


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   And not only was Lauren Salzman’s cooperation critically important in securing Raniere’s
   conviction, it is highly likely that the fact of her public guilty plea was a factor in other
   defendants’ decisions to plead guilty. Lauren Salzman could have given racketeering proof
   at a trial against any of her co-defendants who pleaded guilty after she did, including Allison
   Mack, Clare Bronfman and Kathy Russell.

                 D.      Timeliness of the Defendant’s Assistance

                 Lauren Salzman began cooperating with the government in March 2019, two
   months prior to the commencement of trial in this case.

          V.     Conclusion

                  For the foregoing reasons, the government respectfully submits this motion to
   request that the Court, in its discretion, impose a sentence below the applicable Sentencing
   Guidelines range.



                                                      Respectfully submitted,

                                                      JACQUELYN M. KASULIS
                                                      Acting United States Attorney

                                               By:     /s/
                                                      Tanya Hajjar
                                                      Assistant U.S. Attorney
                                                      (718) 254-7000


   cc:           Counsel of Record (by ECF and email)
                 United States Probation Officer Jennifer G. Fisher (by email)




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